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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                    Case No. 11-CR-20129-35

WAYNE R. WERTH,

           Defendant.
_________________________/

              ORDER GRANTING MOTION FOR EXTENSION OF TIME

      Before the court is the Government’s motion for extension of time for a

reasonable extension of time to complete the psychiatric examination of Defendant.

The motion was filed following a request by Warden Rene G. Garcia for the additional

time, due to the high volume of forensic cases designated to the Federal Detention

Center in Englewood, Colorado. Contrary to Defendant’s objection to this request, the

court finds that a high volume of cases constitutes good cause for a reasonable

extension of time. Thus,

      IT IS ORDERED that the Government’s motion for extension of time [Dkt. # 612]

is GRANTED and the time to complete the examination is extended for an additional

reasonable time period of thirty days.


                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE
Dated: July 16, 2013
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 16, 2013, by electronic and/or ordinary mail.

                                                                    S/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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